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IN THE UNITED sTATEs DISTRICT coURT

FOR THE wESTERN DISTRICT oF TENNESSE _
wEsTERN DIVISION ESJULZB PH 3 3|

 

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ULYSSES A. JACKSON, WAJOFTN. MENP\'ES

Plaintiff,
vs. No. 05-2289-Ma/P

VON MITCHELL,

Defendant.

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ORDER GRANTING MOTION TO PROCEED lN FORMA PAUPERIS
ORDER OF PARTIAL DISMISSAL
ADHJ
ORDER DIRECTING PLAINTIFF TO AMEND COMPLAINT

 

Plaintiff, Ulysses .A. Jackson, has filed. a complaint and
motion to proceed ip fp;ma pauperis under 28 U.S.C. § 1915(a). The
motion to proceed ip fp;ma pauperis is GRANTED. The Clerk of Court
is ORDERED to file the case and to record the defendant as Von
Mitchell.1 The Clerk shall not issue process in this case.

Plaintiff filed his complaint on a form for violations under
Title VII of the Civil Rights Act of 1964. He attached a copy of
a charge of discrimination filed on May 27, 2004. Plaintiff
alleges that he sustained a work injury and the defendant failed to

pay his medical bills or damages.

 

1 The Clerk has recorded the defendant as the United States Postal
Service(USPS) Plaintiff did not name the USPS as a defendant. The Clerk is
ORDERED to delete any reference to the USPS as a defendant and to record Von
Mitchell as the defendant.

T; is document entered on the docket Sh et m compliance
with Rule bd andfor 79(a) FHCP un _léw_

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The administrative remedies before the United States
Department of Labor (DOL) under the Federal Employees Compensation
Act (FECA), ch. 458, 39 Stat. 742 (codified as amended in scattered
sections of 5 U.S.C. and 18 U.S.C.) are the exclusive remedy for a
federal employee who suffers an on-the-job injury. Jackson does
not attach a copy of any DOL decision which shows he has ever
sought relief for any on-the-job injury. Even had he sought such
relief, however, the FECA administrative remedy precludes judicial
review. gee 5 LLS.C. §§ 8116(0), 8128(b); McDaniel v. United
States, 970 F.2d 194, 196-98 (6th Cir. 1992)(FECA remedy preempts
Federal Tort Claims Act, 28 U.S.C. §§ 2671-80 and precludes
judicial review); Jones v. Tennessee Vallev Authoritv, 948 F.2d
258, 265 (6th Cir. 1991); Underwood v. United States Postal Service
742 F. Supp. 968, 970 (M.D. Tenn. 1990).

There is an. exception. to the general prohibition. against
judicial review of FECA claims in cases where the Secretary of
Labor, individually or through the actions of his subordinates in
the Department of Labor, violated. a claimant‘s constitutional
rights or exceeded the scope of the congressional mandate. gpgp§
v. Brock, 860 F.2d 1363, 1367 (6th Cir. 1988). This exception,
however, is not implicated here. Jackson has not alleged that he
used the administrative proceedings available to him and has not

raised any claim against the DOL or the Secretary of Labor.

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To the extent that Jackson seeks to raise a claim of
discrimination, rather than lack of compensation for a work-related
injury. his claim is governed by federal statutes relating to
illegal discrimination in the workplace. Plaintiff has named Von
Mitchell as the defendant. The only' proper defendant in an
employment discrimination. lawsuit by' an. employee of a federal
agency is the person who is the head of that agency. Seel e.g.,
Hancock v. cher, 848 F.2d 87, 89 (6th Cir. 1988); Golyar v.
McCausland, 738 F. Supp. 1090, 1095 (W.D. Mich. 1990).
Accordingly, plaintiff has no claim against Von Mitchell.

Any claims against Von Mitchell lack an arguable basis either
in law or in fact and are, therefore, DISMISSED as frivolous. gee
Denton v. Hernandez, 504 U.S. 25, 31 (1992); Neitzke v. Williams,
490 U.S. 319, 325 (1989).

Forty-two U.S.C. § 2000e-16 is the exclusive remedy for

 

discrimination on the basis of race. Brown v. General Services
Admin., 425 U.S. 820 (1976). The Rehabilitation Act, 29 U.S.C. §§

791, 794a, is the exclusive remedy for handicapped discrimination

in federal employment. Johnston v. Horne, 875 F.2d 1415, 1420-21

 

(9th Cir. 1989); Bovd v. United States Postal Serv., 752 F.2d 410,
413 (9th Cir. 1985). Cf. Hall v. United States Postal Serv., 857
F.2d 1073 (6th Cir. 1988)(noting that the plaintiff did not dispute
district court's dismissal of state law' claims on. basis that

Rehabilitation.Act is the sole remedy for federal employees); Smith

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v. United States Postal Serv., 766 F.2d 205, 207 n.2 (6th Cir.
1985)(same); Smith v. United States Postal Serv., 742 F.2d 257,
259-60 (6th Cir. 1984)(holding that Act requires exhaustion
regardless of whether plaintiff invokes remedy under § 791 or §
794) .

Insofar as plaintiff is suing under the various federal equal
employment laws, exhaustion of administrative remedies is a
prerequisite to the filing of his employment discrimination case.
See generally Zipes v. Trans World Airlines, 455 U.S. 385, 393
(1982); Williams, 983 F.2d at 180; Parsons v. Yellow Freiqht
Systemsl Inc., 741 F.2d 871 (6th Cir. 1984). Plaintiff's exhibit,
the charge of discrimination filed cnl May' 27, 2005, does not
demonstrate that plaintiff has exhausted his remedies under either
Title VII or the Rehabilitation Act.

Plaintiff has at this point failed to state a cause of action
that would warrant an service of his complaint. He is therefore
directed to amend his complaint to name the proper defendant and to
show he has exhausted his administrative remedies and filed this
complaint within ninety days of receiving a final agency decision.
The amendment must be typed or hand-printed on 8 % by 11 inch
paper, one side to a sheet. The plaintiff must personally sign the
amendment. Plaintiff must also attach any supporting documents
which demonstrate exhaustion of administrative remedies and that

this complaint was filed within the time limits prescribed by law.

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Plaintiff must file an amended complaint within twenty (20)
days of the docketing of this order. A failure to timely comply
with any requirement of this order will result in the dismissal of
any claim for which the plaintiff fails to respond or of the

complaint in its entirety.

IT IS SO ORDERED this l?&day Of Jul}yOOE.

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02289 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

Ulysses A .1 ackson
4543 Hudgins

Apt 1

1\/lemphis7 TN 38116

Honorable Samuel Mays
US DISTRICT COURT

